              Case: 1:21-cv-01619-JG Doc #: 7 Filed: 06/30/22 1 of 1. PageID #: 94
The Court approves the dismissal with
prejudice
s/ James S. Gwin
JAMES S. GWIN               IN THE UNITED STATES DISTRICT COURT
UNITED STATES                FOR THE NORTHERN DISTRICT OF OHIO
DISTRICT JUDGE                 EASTERN DIVISION AT CLEVELAND


      GLORIA PARKER,                                   CASE NO. 1:21-CV-1619

             Plaintiff(s)                              JUDGE JAMES S. GWIN

      v.

      CITY OF SOUTH EUCLID,

             Defendant.




                               NOTICE OF VOLUNTARY DISMISSAL

            Plaintiff Gloria Parker hereby gives notice that Plaintiff’s claims against Defendant

     contained in Plaintiffs’ Complaint are hereby voluntarily dismissed with prejudice pursuant to Civ.

     R. 41(a)(1)(A)(i).

                                                  Respectfully Submitted,


                                                  /s/ Marc E. Dann
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